Case 3:20-cr-00114-MMH-MCR Document1 Filed 08/20/20 Page 1 of 7 PagelD 1
FILED

UNITED STATES DISTRICT COURT —-U20 AUG'HO_ AN 10: Ui,
MIDDLE DISTRICT OF FLORIDA CLERK, US DISTRICT CQURT
JACKSONVILLE DIVISION “WL OSING FOF eta

UNITED STATES OF AMERICA

v. CASE NO. 3:20-cr- 1WH- T- 34 MCR

18 U.S.C. § 371
ERNEST MALONEY PAGE, IV
INFORMATION
The United States Attorney charges:
COUNT ONE
A. Introduction
At all times material to this Information:
1. ERNEST MALONEY PAGE, IV (“PAGE”) was a criminal
defense attorney until March 31, 2019, practicing law in the Middle District of

Florida, and elsewhere, and a licensed member of The Florida Bar.

2. The State Attorney’s Office for the Third Judicial Circuit of
Florida (hereinafter “The State Attorney’s Office”) was an agency of the State
of Florida, covering counties in the Middle District of Florida, and elsewhere,
including Columbia, Dixie, Hamilton, Lafayette, Madison, Suwannee and
Taylor Counties. The State Attorney’s Office received annual benefits in excess

- of $10,000. under a Federal program involving a grant, contract, subsidy, loan
Case 3:20-cr-00114-MMH-MCR Document 1. Filed 08/20/20 Page 2 of 7 PagelD 2

and other form of Federal assistance.

3. J.S. was a resident of the Middle District of Florida and a high-
ranking agent of the State Attorney’s Office. In his position, J.S. had the
authority to bring, reduce, and dismiss criminal charges for The State Attorney’s
Office.

4. The Client was a resident of the Middle District of Florida who
managed a family-owned tractor dealership in the Middle District of Florida.
The Client retained PAGE to represent him after the Client was arrested on two
separate occasions and charged by the State Attorney’s Office for Driving Under
the Influence (“DUI”) in Madison County, Florida.

B. The Conspiracy

5. Beginning in or around July 2017, and continuing through on or
about March 12, 2020, in the Middle District of Florida, and elsewhere, the
defendant,

ERNEST MALONEY PAGE, IV, »
did knowingly and willfully combine, conspire, confederate, and agree with J.S.
and others, both known and unknown to the United States Attorney, to commit
certain offenses against the United States, that is bribery concerning programs

receiving federal funds, in violation of 18 U.S.C. § 666(a)(2).
Case 3:20-cr-00114-MMH-MCR Document1 Filed 08/20/20 Page 3 of 7 PagelD 3

C. Manner and Means
6. The manner and means by which the conspirators sought to
accomplish the purpose of the conspiracy included, among other things:

a. It was a part of the conspiracy that J.S. would and did use
his position as a high-ranking agent of the State Attorney’s Office to solicit,
accept, and agree to accept bribes in return for the favorable disposition of
criminal cases.

b. It was further part of the conspiracy that J.S. and PAGE
would and did discuss and agree that PAGE would provide and promise to
provide a bribe from the Client in exchange for J.S. reducing or dismissing the
charges brought by the State Attorney’s Office against the Client.

c. It was a further part of the conspiracy that PAGE would
and did relay messages from J.S. to Client for the purpose of facilitating a bribe
to J.S. in exchange for favorable dispositions of the Client’s cases.

d. It was further part of the conspiracy that the Client would
and did provide and promise to provide a bribe to J.S., that is, a tractor, in
exchange for the charges brought by the State Attorney’s Office against the
Client.

e. It was a further part of the conspiracy that the conspirators

would and did perform acts and make statements to hide and conceal, and cause
Case 3:20-cr-00114-MMH-MCR Document1 Filed 08/20/20 Page 4 of 7 PagelD 4

to be hidden and concealed, the purpose of the conspiracy and the acts
committed in furtherance thereof.
D. Overt Acts
7. In furtherance of the conspiracy and to effect the objects thereof,
the conspirators committed and caused to be committed, within the Middle
District of Florida and elsewhere, the following overt acts, among others:

a. In or around July 2017, PAGE told J.S. to visit the Client
at the Client’s family’s tractor dealership because J.S. wanted a new tractor.

b. | In or around September 2017, J.S. sent his wife to the
Chient’s tractor dealership to obtain an estimate for the purchase of a tractor and
accessories.

Cc. In or around September 2017, J.S. told PAGE that J.S.
would reduce one of the Client’s pending DUI cases in exchange for a bribe in -
the form of a $10,000 discount on the purchase of a tractor and accessories, or
J.S. would reduce both of the Client’s pending DUI cases in exchange for a
bribe in the form of a $20,000 discount on the purchase of a tractor and
accessories.

d. In or around September 2017, PAGE relayed to the Client
J.S.’s offer to receive a bribe from the Client. -

e. In or around September 2017, the Client agreed to pay J.S.
Case 3:20-cr-00114-MMH-MCR Document 1 Filed:08/20/20 Page 5 of 7 PagelD 5

a bribe in exchange for reducing both of his criminal DUI cases pending before
the State Attorney’s Office, specifically to provide J.S. with a $20,000 discount
on a tractor and tractor accessories. |

f. In or around September 2017, PAGE told J.S. that the
Client had agreed to pay J.S. a bribe in the form of a $20,000 discount on a
tractor and accessories in exchange for reducing both of the Client’s pending
DUI charges.

| g. On or about September 20, 2017, J.S.’s wife purchased a
tractor and accessories from the Client, the price of which was discounted by
$20,000.

h. On or about September 28, 2017, J.S., the Client and PAGE
signed an Offer of Plea, which provided that the Client would plead no contest
to the charges of reckless driving with alcohol and refusal to submit to blood
alcohol test in exchange for both DUI charges being dismissed by the State

- Attorney’s Office.

1. On or about September 28, 2017, the Client was sentenced

to 12 months’ supervised probation with no incarceration.

All in violation of 18 U.S.C. § 371.
Case 3:20-cr-00114-MMH-MCR Document1 Filed 08/20/20 Page 6 of 7 PagelD 6

FORFEITURE

1. The allegations contained in Count One are incorporated by

reference for the purpose of alleging forfeiture pursuant to 18 U.S.C. §

981(a)(1)(C) and 28 U.S.C. § 2461(c).

2. Upon conviction of Count One, the defendant shall forfeit to the

United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

any property, real or personal, which constitutes or is derived from proceeds

traceable to the offense.

3. If any of the property described above, as a result of any act or

omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third

party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be

divided without difficulty,
Case 3:20-cr-00114-MMH-MCR Document1 Filed 08/20/20 Page 7 of 7 PagelD 7

the United States shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

MARIA CHAPA LOPEZ
United States Attorney

AM, S ker ae—

KELLY SKARA
Assistant United States Attorney

(Jol D0

DAVID B. MESROBIAN
Assistant United States Attorney

Ee
FRANK TALBOT
Assistant United States Attorney

Chief, Jacksonville Division
